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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

 MARK ANTHONY ORTEGA,

                  Plaintiff,

        v.                                             Case No. 5:24-cv-01038-FB-RBF

 AMERICAN-AMICABLE LIFE
 INSURANCE COMPANY OF TEXAS,

                  Defendant.

                                ENTRY OF APPEARANCE

       Emilee N. Crowther, an attorney with the law firm of Husch Blackwell LLP, hereby enters

her appearance in the above-captioned matter as counsel on behalf of Defendant American-

Amicable Life Insurance Company of Texas.

Dated: November 7, 2024                    Respectfully submitted,

                                           By: /s/ Emilee N. Crowther
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                                   CERTIFICATE OF SERVICE

       I certify that on, November 7, 2024, a true and correct copy of the foregoing document was

electronically filed with the Court’s ECF system to be sent via the electronic notification system to all

counsel of record in the above-captioned matter.

                                                By: /s/ Emilee N. Crowther
                                                       Emilee N. Crowther




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